Case 2:03-CV-02561-.]DB-STA Document 117 Filed 05/27/05 Page 1 of 3 Page|D 126

Fu.szn w %. n.c.
IN T'HE UNITEI) STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 55 F‘~i"`f' 37 PH 3‘ 95

 

 

AT MEMPHIS

NACCO MATERIALS HANDLING )
GROUP, INC., d/b/a YALE MATERIALS )
HANDLING CORPORATION, )
)
Plaintiff, )
)

v. ) NO. 03~2561-BA
)
TOYOTA MATERIAL HANDLING )
USA, INC., and THE LILLY COMPANY, )
)
Defendants. )

 

ORDER GRANTING ADMISSION OF MICHAEL J. LOCK_ERBY
PRO HAC VICE

Upon Motion and for good cause shown, it is ORDERED that Michael J. Loekerby shall

be permitted to appear in this case pro hac vice.

  

ENTERED this 2§\ day of P’]

 

|Citj$tates District Judg§

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UNITE sTATEs DISTRICT oURT - WESTERNDTISRIC oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 117 in
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Aubrey B. Harwell

LAW OFFICE OF AUBREY B. HARWELL, JR.
150 Fourth Ave. North

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Honorable J. Breen
US DISTRICT COURT

